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IN THE UNITED STATES DISTRICT COURT  2020SEP -9 AM 9:50
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION JEPUTY ELIRK ck

UNITED STATES OF AMERICA
v.

RENE S. RANGEL-MANJARREZ (2)

CASE NO. 3:20-CR-183-M

FACTUAL RESUME

In support of Rene S. Rangel-Manjarrez’s plea of guilty to the offenses in Counts

One and Two of the Superseding Information, Rangel-Manjarrez, the defendant, Ezekiel

Tyson, the defendant’s attorney, and the United States of America (the government)

stipulate and agree to the following:

ELEMENTS OF THE OFFENSE

To prove the offense alleged in Counts One and Two of the Superseding

Information charging a violation of 18 U.S.C. §§ 922(a)(6) and 924(a)(2)), that is, False

Statement During Purchase of Firearm, the government must prove each of the following

elements beyond a reasonable doubt:!

First: That the defendant made a false written statement;

Second: That the defendant knew the statement was false;

Third: That the statement was made in connection with the acquisition of a

firearm from a licensed firearm dealer;

Fourth: That the statement was intended or was likely to deceive a licensed

1 Fifth Circuit Pattern Jury Instruction 2.43B (5th Cir. 2019).

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firearm dealer; and
Fifth: That the alleged false statement was material to the lawfulness of the
sale or disposition of the firearm.

STIPULATED FACTS

1. Rene S. Rangel-Manjarrez admits that on or about January 31, 2020, in the
Southern District of Texas, the defendant, Rene S. Rangel-Manjarrez, in connection with
the acquisition of a firearm, to wit: a Barrett rifle, model M82AI, .50 caliber, with serial
number AA009613, from the Gun Boss, a licensed dealer of firearms within the meaning
of Chapter 44, Title 18, United States Code, knowingly made a false and fictitious written
statement to The Gun Boss, which statement was intended and likely to deceive the Gun
Boss, as to a fact material to the lawfulness of such sale and acquisition of the said
firearm to the defendant under Chapter 44 of Title 18, in that the defendant represented
did execute a Department of Justice, Bureau of Alcohol, Tobacco, Firearms, and
Explosives form 4473, Firearms Transaction Record, to the effect that that she was the
actual buyer of the firearms indicated on the Form 4473, when in fact as the defendant
then knew, he was not the actual buyer of the firearm; in violation of Title 18, United
States Code, Sections 922(a)(6) and 924(a)(2).

2. Rene S. Rangel-Manjarrez admits that on or about March 13, 2020, in the
Southern District of Texas, the defendant, Rene S. Rangel-Manjarrez, in connection with
the acquisition of a firearm, to wit: a Barrett rifle, model 82A1, .50 caliber, with with

serial number AA009624, from the Gun Boss, a licensed dealer of firearms within the

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meaning of Chapter 44, Title 18, United States Code, knowingly made a false and
fictitious written statement to The Gun Boss, which statement was intended and likely to
deceive the Gun Boss, as to a fact material to the lawfulness of such sale and acquisition
of the said firearm to the defendant under Chapter 44 of Title 18, in that the defendant
represented did execute a Department of Justice, Bureau of Alcohol, Tobacco, Firearms,
and Explosives form 4473, Firearms Transaction Record, to the effect that that she was
the actual buyer of the firearms indicated on the Form 4473, when in fact as the
defendant then knew, he was not the actual buyer of the firearm; in violation of Title 18,
United States Code, Sections 922(a)(6) and 924(a)(2).

3. Rene S. Rangel-Manjarrez admits that he purchased firearms from a
licensed dealer, the Gun Boss, on behalf of Jose Celbey Hernandez. He admits that they
travelled from Brownsville, Texas, to Pleasanton, Texas, to purchase the firearms. He
admits that he was recruited by Hernandez to purchase firearms for Hernandez. He
admits that Hernandez provided the money to purchase the firearms and paid him for
purchasing the firearms and turning them over to Hernandez.

4. For example, he admits that on or about January 31, 2020, he purchased a
Barrett rifle, model M82AI, .50 caliber, with serial number AA009613, from the Gun
Boss in Pleasanton, Texas. He admits that he stated on the ATF Form 4473 that he was
the actual buyer of this firearm, when in fact he was not. He admits that he purchased the

firearm on behalf of and for Hernandez.

model 82A1, .50 caliber, with serial number AA009624, from the Gun Boss in

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5. He admits that on or about March 13, 2020, he purchased a Barrett rifle,
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Pleasanton, Texas. He admits that he stated on the ATF Form 4473 that he was the actual
buyer of this firearm, when in fact he was not. He admits that he purchased the firearm
on behalf of and for Hernandez.

6. He admits that he is not a licensed a firearm dealer. He further stipulates
that the Gun Boss is a licensed firearms dealer.

7. The defendant agrees that the defendant committed all the essential
elements of the offenses. This factual resume is not intended to be a complete accounting
of all the facts and events related to the offenses charged in this case. The limited
purpose of this statement of facts is to demonstrate that a factual basis exists to support

the defendant’s guilty plea to Counts One and Two of the Superseding Information.

AGREED TO AND STIPULATED on this 4 day of Sepkmboy , 2020.

ERIN NEALY COX
UNITED STATES ATTORNEY

LA Orr

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